252 F.2d 929
    COUNTY SCHOOL BOARD OF ARLINGTON COUNTY, VIRGINIA, and T.Edward Rutter, Division Superintendent of Schools,Arlington County, Virginia, Appellants,v.Clarissa S. THOMPSON et al., Appellees.
    No. 7543.
    United States Court of Appeals Fourth Circuit.
    Argued Jan. 9, 1958.Decided Feb. 12, 1958, Writ of Certiorari Denied May 19,1958, See 78 S.Ct. 994.
    
      James H. Simmonds, Arlington, Va., Henry T. Wickham, Sp. Asst. to the Atty. Gen. of Virginia, and Frank L. Ball, Arlington, Va.  (Kenneth C. Patty, Atty. Gen. of Virginia, on the brief), for appellants.
      Oliver W. Hill and Spottswood W. Robinson, III, Richmond, Va.  (Edwin C. Brown, Alexandria, Va., on the brief), for appellees.
      Before PARKER, Chief Judge, and SOBELOFF and HAYNSWORTH, Circuit judges.
      PER CURIAM.
    
    
      1
      This is another appeal in the school segregation case which was before us in School Board of City of Charlottesville, Va. v. Allen (County School Board of Arlington County, Virginia, v. Thompson), 4 Cir., 240 F.2d 59, certiorari denied 353 U.S. 910, 77 S.Ct. 667, 1 L.Ed.2d 664.  After the affirmance of the decree on the former appeal, the District Judge found that seven Negro children had been denied admission to schools in violation of the terms of the decree and entered an order enjoining defendants from refusing to admit them to the schools to which they had applied for admission.  We think that the order was clearly proper for reasons adequately stated in the opinion of the District Judge and nothing need be added to what was there said, 159 F.Supp. 567.
    
    
      2
      While ordinarily in cases of this sort an injunctive order should merely enjoin racial discrimination by school authorities without attempting to direct details of administration, there was a finding here that, in violation of the prior injunctive order of the court, discrimination had been practiced with respect to these Negro children.  The judge found that the defendants in refusing them admission had acted in good faith in reliance upon a statute passed after the entry of the injunctive order and that they 'did not intend any defiance of the injunction.'  Instead of adjudging them in contempt, therefore, and providing that the contempt might be purged by admitting the children to the schools to which they had made application, he took the milder course of entering an order specifically defining what was required of defendants under the order which had been violated and giving them the opportunity of avoiding a contempt citation by complying with the order so entered.  There is nothing in this of which they can justly complain.
    
    
      3
      Affirmed.
    
    